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 1                      IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE DISTRICT OF PUERTO RICO
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 3
     IN RE:                                   CASE NO. 18-05288-ESL11
 4    SKYTEC INC                              Chapter 11

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     XX-XXXXXXX
 7
                    Debtor(s)                      FILED & ENTERED ON MAR/04/2019
 8

 9
                                           ORDER
10
           The Motion to Quash Logistic Systems, Inc.’s Subpoena for Rule 2004
11
     Examination and Request for Production of Documents, filed by Oriental Bank
12
     (Docket Entry #116) is hereby granted. The court notes the intent to oppose the
13
     motion for reconsideration (docket #110) and the motion to quash (docket #116)
14
     filed by Oriental Bank in relation to the application for a rule 2004 examination
15
     filed by Logistics Systems, Inc. (docket #108). The opposition shall be filed
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     within seven (7) days. The court further notes that the objection by Logistics
17
     Systems to the stipulation for the use of cash collateral by and between the
18
     Debtor and Oriental Bank has been scheduled for March 26, 2019 and that proposed
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     findings of fact and conclusions of law must be filed seven (7) days prior to
20
     the hearing. However, at this time the court limits the scope of discovery from
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     Oriental Bank to the proof of claim filed by Oriental as the same is the primary
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     basis for the stipulation for the use of cash collateral.
23
           IT IS SO ORDERED.
24
           In San Juan, Puerto Rico, this 4 day of March, 2019.
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